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17                                   UNITED STATES DISTRICT COURT

18                             NORTHERN DISTRICT OF CALIFORNIA

19                                        OAKLAND DIVISION

20    IN RE COLLEGE ATHLETE NIL                   Case No. 4:20-cv-03919-CW
      LITIGATION
21                                                STIPULATION AND [PROPOSED] ORDER
                                                  REGARDING FILING OF THIRD
22                                                CONSOLIDATED AMENDED CLASS
                                                  ACTION COMPLAINT
23
                                                  Hon. Claudia Wilken
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                               STIPULATION AND [PROPOSED] ORDER REGARDING FILING
                            OF THIRD CONSOLIDATED AMENDED CLASS ACTION COMPLAINT
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 1          Pursuant to Northern District of California Civil Local Rule 7-12 and Federal Rule of Civil
 2   Procedure 15(a)(2), Plaintiffs in the above-captioned action and Defendants National Collegiate
 3   Athletic Association, Atlantic Coast Conference, The Big Ten Conference, Inc., The Big 12
 4   Conference, Inc., Pac-12 Conference, and Southeastern Conference (collectively, “Defendants,” and
 5   together with Plaintiffs, the “Parties”), by and through their respective undersigned counsel, hereby
 6   submit the following Stipulation to permit the Plaintiffs to file the Third Consolidated Amended Class
 7   Action Complaint submitted herewith:
 8          WHEREAS, on June 15, 2020, Plaintiffs filed the Class Action Complaint. ECF No. 1;
 9          WHEREAS, on July 26, 2021, Plaintiffs timely filed the Consolidated Amended Class Action
10   Complaint. ECF No. 164;
11          WHEREAS, on July 26, 2024, Plaintiffs timely filed the Second Consolidated Amended Class
12   Action Complaint. ECF No. 448-1;
13          WHEREAS, the Defendants consent to Plaintiffs’ request to file the Third Consolidated
14   Amended Class Action Complaint submitted herewith as Exhibit 1 and in redline format as Exhibit 2,
15   for purposes of facilitating the resolution of this matter; and
16          WHEREAS, the Parties agree that Defendants do not need to file a pleading in response to the
17   Third Consolidated Amended Class Action Complaint.
18          THEREFORE, the Parties hereby agree and stipulate that, upon order of this Court:
19             Pursuant to Federal Rule of Civil Procedure 15(a)(2), Defendants consent to Plaintiffs
20              filing the Third Consolidated Amended Class Action Complaint submitted herewith as
21              Exhibit 1, which shall become the operative complaint; and
22             Defendants shall not be required to file a pleading in response to the Third Consolidated
23              Amended Class Action Complaint.
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 1                  ATTESTATION PURSUANT TO CIVIL LOCAL RULE 5-1(i)(3)
 2          Pursuant to Civil Local Rule 5-1(i)(3), the filer of this document attests that concurrence in the

 3   filing of this document has been obtained from the signatories above.

 4
                                                                    /s/ Steve W. Berman
 5                                                                 STEVE W. BERMAN
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 1                                    [PROPOSED] ORDER
 2            PURSUANT TO STIPULATION, IT IS SO ORDERED.

 3

 4   Dated:
                                             HON. CLAUDIA WILKEN
 5                                           UNITED STATES DISTRICT COURT JUDGE
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